                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                      DETROIT
                                                      CH. 11
                                                                 Case No. 21-47210
In re:                                                           Hon. Maria L. Oxholm

Saline Lodging Group, LLC,
                Debtor.
 ______________________________ /
             LIQUIDATING COMBINED PLAN AND DISCLOSURE STATEMENT
                   OF CREDITOR YOUR ENTERPRISE SOLUTIONS, LLC

I.    Introduction
         Creditor, Your Enterprise Solutions, LLC (“YES”), hereby proposes its
Liquidating Combined Plan and Disclosure Statement pursuant to Chapter 11 of the
United States Code.

          YES notes that no party has requested that it include any specific information
in the disclosure, and as such, said disclosure is made pursuant to the guidelines of
this Court, the Bankruptcy Rules, the United States Code, and the Local Rules for the
Eastern District of Michigan. YES has included the disclosures made by the Debtor,
Saline Lodging Group, LLC in its Liquidating Combined Plan and Disclosure Statement
filed April 21,2022 (Doc. 151).

II.      Definitions

          Scope of Definitions. For purposes of this Plan, except as expressly otherwise
provided or unless the context otherwise requires, all capitalized terms not otherwise
defined shall have the meanings assigned to them in this Section of the Plan. In all
references herein to any parties, persons, entities, or corporations, the use of any


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particular gender or the plural or singular number is intended to include the
appropriate gender or number as the text may require.
      a.    “Administrative Expense” shall mean any cost or expense of
            administration of the Chapter 11 case allowable under Section 507(a) of
            the Bankruptcy Code, including, without limitation, any actual and
            necessary expenses of preserving the estate of the Debtor, any actual and
            necessary expense of operating the business of the Debtor, any
            indebtedness or obligation incurred or assumed by the Debtor in
            connection with the conduct of its business or for the acquisition or lease
            of property or the rendition of services to the Debtor, all allowances of
            compensation and reimbursement of expenses, any fees or charges
            assessed against the estate of any Debtor under Chapter 11, Title 28, of
            the United States Code, and the reasonable fees and expenses incurred
            by the Proponent in connection with the proposal and confirmation of
            this Plan.
      b.    “Allowed” when used as an adjective preceding the words “Claims” or
            “Equity Interest”, shall mean any Claim against or Equity Interests of the
            Debtor, proof of which was filed on or before the date designated by the
            Bankruptcy Court as the last date for filing proofs of claim or Equity
            Interest against such Debtor, or, if no proof of claim or Equity Interest is
            filed, which has been or hereafter is listed by the Debtor as liquidated in
            amount and not disputed or contingent and, in either case, a Claim as to
            which no objection to the allowance thereof has been interposed with
            the applicable period of limitations fixed by the Plan, the Bankruptcy
            Code, the Federal Rules of Bankruptcy Procedure, Local Rules, or as to
            which any objection has been interposed and such Claim has been
            allowed in whole or in part by a Final Order. Unless otherwise specified
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         in the Plan, “Allowed Claim” and “Allowed Equity Interest” shall not,
         for purposes of computation of distributions under the Plan, include
         interest on the amount of such Claim or Equity Interest from and after
         the Petition Date.

    c.   “Allowed Administrative Expense” shall mean any Administrative
         Expense allowed under Section 507(a)(l) of the Bankruptcy Code.

    d.   “Allowed Unsecured Claim” shall mean an Unsecured Claim that is or
         has become an Allowed Claim.

    e.   “Bankruptcy Code” shall mean the Bankruptcy Reform Act of 1978, as
         amended, and as codified in Title 11 of the United States Code.

    f.   “Bankruptcy Court” shall mean the United States Bankruptcy Court for
         the Eastern District of Michigan having jurisdiction over the Chapter 11
         Case and, to the extent of any reference made pursuant to 28 U.S.C.
         Sec. 158, the unit of such District Court constituted pursuant to 28
         U.S.C. Sec. 151.

    g.   “Bankruptcy Rules” shall mean the rules and forms of practice and
         procedure in bankruptcy, promulgated under 28 U.S.C. Sec. 2075 and
         also referred to as the Federal Rules of Bankruptcy Procedure.

    h.   “Business Day” means and refers to any day except Saturday, Sunday,
         and any other day on which commercial banks in Michigan are
         authorized by law to close.

    i.   “Chapter 11 Case” shall mean a case under Chapter 11 of the
         Bankruptcy Code in which Saline Lodging Group, LLC is the Debtor.

    j.   “Claim” shall mean any right to payment from the Debtor whether or
         not such right is reduced to judgment, liquidated, liquidated, fixed,
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         contingent, matured, unmatured, disputed, undisputed, legal,
         equitable, secured, or unsecured; or any right to an equitable remedy
         for breach of performance if such breach gives rise to a right of
         payment from the Debtor whether or not such right to an equitable
         remedy is reduced to judgment, fixed, contingent, matured,
         unmatured, disputed, undisputed, secured, or unsecured. All claims as
         such term is defined in section 101(5) of the Bankruptcy Code.

    k.   “Class” shall mean a grouping of substantially similar Claims or Equity
         Interests for common treatment thereof pursuant to the terms of this
         Plan.

    l.   “Code” shall mean Title 11 of the United States Code, otherwise known
         as the Bankruptcy Code.

    m.   “Confirmation” shall mean the entry of an Order by this Court approving
         the Plan in accordance with the provisions of the Bankruptcy Code.

    n.   “Creditor” shall mean any person that has a Claim against the Debtor
         that arose on or before the Petition Date or a Claim against the Debtor’s
         estate of any kind specified in section 502(g), 502(h) or 502(I) of the
         Bankruptcy Code. This includes all persons, corporations, partnerships,
         or business entities holding claims against the Debtor.

    o.   “Debt” means, refers to and shall have the same meaning ascribed to
         it in Section 101(12) of the Code.

    p.   “Debtor” shall mean Saline Lodging Group, LLC.

    q.   “Disclosure Statement” means and refers to the Disclosure Statement
         filed by the Plan proponent as required pursuant to Section 1125 et
         seq. of the Bankruptcy Code.

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    r.   “Effective Date” shall mean 30 days from the day the Confirmation
         Order becomes a Final Order.

    s.   “Estate” shall mean the estate created under 11 U.S.C. § 541 by reason
         of commencement of this case.

    t.   “Final Order” shall mean an order of the Bankruptcy Court or a court of
         competent jurisdiction to hear appeals from the Bankruptcy Court which,
         not having been reversed, modified, or amended, and not being stayed,
         and the time to appeal from which or to seek review or rehearing of which
         having expired, has become final and is in full force and effect.

    u.   “Impaired” when used as an adjective concerning the words “Class of
         Claims” or “Class of Membership Interests” shall mean that the Plan
         alters the legal, equitable, or contractual rights of the member of that
         class.

    v.   “Person” shall mean an individual, a corporation, a partnership, an
         association, a joint membership interest company, a joint venture, an
         estate, a trust, an unincorporated organization, or a government or any
         political subdivision thereof or other entity.

    w.   “Petition Date” shall mean the date on which the Debtor filed the
         petition for relief commencing this Chapter 11 Case.

    x.   “Plan” shall mean this Plan of Reorganization filed by YES in these
         Proceedings, together with any additional modifications and
         amendments.

    y.   “Priority Non-Tax Claim” shall mean a Claim entitled to priority under
         sections 507(a)(2),(3), (4), (5), (6) or (7) of the Bankruptcy Code, but


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          only to the extent it is entitled to priority in payment under any such
          subsection.

    z.    “Priority Tax Creditor” shall mean a Creditor holding a priority tax
          claim.

    aa. “Priority Tax Claim” shall mean any Claim entitled to priority in payment
          under section 507(a)(8) of the Bankruptcy Code, but only to the extent
          it is entitled to priority under such subsection.

    bb. “Proceedings” shall mean the Chapter 11 Case of the Debtor.

    cc.   “Professional Persons” means and refers to all attorneys, accountants,
          appraisers, consultants, and other professionals retained or to be
          compensated pursuant to an Order of the Court entered under
          Sections 327, 328, 330, or 503(b) of the Bankruptcy Code.

    dd. “Professional Claim” means and refers to a claim by any and all
          professionals as provided for in Sections 327, 328, 330 and 503(b) of
          the Bankruptcy Code.

    ee.   “Secured Claim” means and refers to a Claim which is secured by a
          valid lien, security interest, or other interest in property in which the
          Debtor has an interest which has been perfected properly as required
          by applicable law, but only to the extent of the value of the Debtor’s
          interest in such property, determined in accordance with Section
          506(a) of the Bankruptcy Code.

    ff.   “Unsecured Claim” shall mean any Claim against the Debtor which arose
          or which is deemed by the Bankruptcy Code to have arisen prior to the
          Petition Date for such Debtor, and which is not (I) a secured claim
          pursuant to Section 506 of the Bankruptcy Code, as modified by section

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                1111(b) of the Bankruptcy Code, or (ii) a Claim entitled to priority under
                sections 503 or 507 of the Bankruptcy Code. “Unsecured Claim” shall
                include all Claims against the Debtor that are not expressly otherwise
                dealt with in the Plan.

       gg.      Other Definitions, a term used and not defined herein but that is
                defined in the Bankruptcy Code shall have the meaning set forth
                therein. The words “herein”, “hereof’, “hereto, “hereunder”, and
                others of similar import refer to the Plan as a whole and not to any
                particular section, subsection, or clause contained in the Plan.
                Moreover some terms defined herein are defined in the section in
                which they are used.
III.    The Plan
       This Plan provides for transfer of the Debtor’s assets, including but not limited

to, the real property and hotel project at 1250 E. Michigan Ave., Saline, Michigan

(“the Property”) to YES in satisfaction of YES’s secured claim. In exchange, YES and/or

its assignees shall make a $25,000.00 payment to the Debtor for application to

administrative claims under Class 1 below and shall pay or escrow funds for payment

of superior lien claims in Classes 2 and 3, all as provided hereinafter.

       Payments will be made in accordance with their class, as set forth herein, and

then, within the class, paid in accordance with the applicable priority, as determined

by this Plan.




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      No payment or distribution will be made on any disputed claims until the

dispute is settled or adjudicated by a court of competent jurisdiction; and that

monies payable under the Plan on any such claims will be placed in escrow until

settlement occurs or adjudication is complete.

      Class 1 – Administrative Claims.
       a. The claims of this Class 1 shall consist of all Allowed claims for

            Administrative Expenses, including any fees and taxes that qualify as

            Administrative Expenses. Holders of Claims for Administrative Expenses

            may include, without limitation, quarterly fees due to the U.S. Trustee,

            Allowed Professional Claim of Don Darnell, and The claim of Deborah

            Fish for services as the Subchapter V Trustee.

       b.   Claims included in this Class shall retain their priority notwithstanding

            the confirmation of this Plan. The Debtor shall remain responsible for

            every Claim in this Class.

       c.   On or Before the Effective Date, YES shall tender to the Debtor the

            sum of $25,000.00 which shall be distributed to holders of Allowed

             Administrative Claims as provided herein.

       d.   Each claimant in this Class shall be paid the pro-rata amount of its Claim

            (or such other amount as is allowed by order of this Court) on such date

             as may be mutually agreed upon between Debtor and the particular
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              claimant, or, if no such date is agreed upon, the latest of (i) the Effective

              Date, or (ii) the date upon which the Bankruptcy Court enters its Final

              Order, if necessary, allowing and approving the Debtor’ payment of such

              Administrative Claim.

       e.     The Bar Date for asserting any Administrative Claim, including any

              Administrative Claim for Professional Fees against the Reorganized

              Debtor shall be thirty (30) days after the Effective Date. Except as

              otherwise provided by order of the Bankruptcy Court, any

              Administrative Claim first asserted after this Bar Date will not be

              Allowed and shall not be entitled to payment as an Administrative

              Claim.

            Class 1 claims are impaired and are entitled to vote.
Class 2 – Property Tax Claims
       Class 2 consists of Claims for property taxes payable to the City of Saline and

Washtenaw County, fully secured in the amount of approximately $129,901. These

claims are fully secured by statutory first lien on the Property. These shall be paid in

full on or before the Effective Date by YES or its assignee. The City of Saline and

Washtenaw County shall retain their liens and interest in Debtor’s Property at 1250 E.

Michigan Ave., Saline Michigan until such time as Class 2 claims are paid in full.


      Class 2 claims are NOT impaired and are NOT entitled to vote.
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Class 3 – Construction Lien Claims
      Class 3 consists of claims of holders of construction liens which statutorily

attached to the Property at 1250 E. Michigan Ave., Saline, Michigan in the aggregate

amount of $579,089.70. Holders of these Claims have liens which are pari passu,

and junior only to the liens for taxes in Class 2 above.

      a. The claim of Chelsea Lumber Company in the sum of $75,789.00 shall be

          paid in full by YES or its assignee on or before the Effective Date.

      b. The lien claims of Hoffman Plastering, LLC, in the sum of $115,040.00 and

          Quality Roofing, Inc., in the sum of $53,136.70 were acquired pre-petition by

          YES and may be paid in full as and when YES may deem appropriate.

      c. The lien claim of Tri-County Electric Company of Washtenaw County (“Tri-

          County”), is asserted in the sum of $335,124.00. That claim is disputed and

          an objection to that claim is pending. There is also pending Adversary

          Proceeding, Case No. 22-04037, by YES against Tri-County challenging the

          claim. The Allowed Claim shall be paid in full on the later of (i) the Effective

          Date, (ii) ten (10) days after the entry of a Final Order determining the

          Allowed Claim of Tri-County, or (iii) such date as YES and Tri-County provide

          in an agreement between them as to the amount of such claim. On or before

          the Effective Date, YES or its assignee shall deposit with Finkel Whitefield

          Feldman the sum of $335,124.00 which shall be held in trust. Such funds
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           shall be paid to Tri-County in such amount and at such time as provided

           hereinabove. Any excess not due to Tri-County hereunder shall be returned

           to the payer.

      d. Lien claimants shall retain their liens against the Property at 1250 E.

           Michigan Ave., Saline Michigan, until the first to occur of (i) paid in full or (ii)

           the deposit under subparagraph (c) above is made, as may be applicable.

      Class 3 claims are impaired and are entitled to vote.

Class 4:      Mortgage Claim of Your Enterprise Solutions, LLC

      a. Class 4 consists of a third priority secured claim of YES in the sum of

           $4,311,382.14. The claim is subordinate to the claims of property taxes in

           Class 2 and construction lien claims in Class 3. YES holds the lien against

           the Property as a result of acquiring pre-petition the promissory note

           made by the Debtor in favor of First State Bank, which is secured by a

           mortgage on the Debtor’s real property and a security interest in all

           personal property of the Debtor. Superior claims in classes 2 and 3 total

           approximately $739,170.70.           The Debtor has valued its assets at

           approximately $2,720,000.00 based on an October 2020 appraisal. Based

           on that valuation, YES holds a secured claim of $2,011,009 and an

           unsecured claim of approximately $2,300,000.00.

      b. On or before the Effective Date, at such time as YES tenders or has

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        tendered (i) payment to the Debtor of the $25,000.00 provided for

        treatment of Class 1 and (ii) payments as required under Classes 2 and 3

        above, the Debtor shall deliver to YES or its assignee a deed in lieu of

        foreclosure to the Property and such other bills of sale and /or assignment

        documents as YES may reasonably request to convey all such property of

        the Debtor as YES may request.

     c. YES has disputed the claim of Tri-County asserting that Tri-County’s claim

        should be disallowed to the extent of (i) additional labor costs avoided, (ii)

        the cost of a generator not delivered to the Property, and (iii) the cost of

        electrical fixtures not delivered to the Property prior to the filing of the

        Petition herein. Tri-County delivered certain electrical fixtures to the

        Property in April 2022 (the “April Fixtures”).        The April Fixtures are

        deemed to be the property of Tri-County. If and to the extent that the

        objection of YES as to the electrical fixtures is overruled and Tri-County’s

        Claim is allowed with respect thereto, then such electrical fixtures,

        including , but not limited to, the April Fixtures, shall thereupon become

        the property of YES hereunder.

     d. Such transfers of title to YES shall be in full satisfaction of YES’ secured

        claim, but YES shall retain its unsecured claim herein.


 Class 4 Claimant YES’ secured claim is impaired and it is entitled to vote.
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Class 5:        Mortgage Claim of William Long

        Class 5 consists of a fourth priority secured claim, subordinate to the claims of

property taxes in Class 2, construction lien claims in Class 3, and YES in Class 4. William

Long holds a mortgage against the Property to secure an obligation in the original

amount of $460,000. Superior claims total approximately $5,020,000. There will be NO

PAYMENT on account of the Class 5 claim. The lien of the Class 5 creditor on the

Property shall be discharged on or before the date upon which YES makes the payments

required above for the treatment of the Claims of Classes 1, 2 and 3.

        The claim of Class 5 Claimant William Long is impaired and he is entitled to

vote.

Class 6:        General Unsecured Claims

        Class 6 consists of the claims of all unsecured creditors, including under-secured

creditors, if and when allowed. The information disclosed by the debtor lists these as

totaling $877,863, in addition to YES’ unsecured claim estimated to be $2,300,000, for

a grand total of approximately $3,177,863.

        The holders of allowed Class 6 claims will receive NO PAYMENT on account of

their claims.

        Class 6 Claimants are impaired and are entitled to vote.

Class 7:    Members of Saline Lodging Group.

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      The membership (equity) interests of the Debtor shall be cancelled and the

members shall receive NO PAYMENT on account of their interests.

      This class is impaired and the members of the Debtor are entitled to vote.

IV.   The Debtor

***THE FOLLOWING DISCLOSURES ARE PRIMARILY TAKEN FROM THE DEBTOR’S
LIQUIDATING COMBINED PLAN AND DISCLOSURE STATEMENT ***

      a.     Description of the Debtor

      The Debtor is a Michigan corporation formed on February 4, 2017. The Debtor

is the corporate structure for a company in Saline, Michigan that began with the

concept of a hotel and restaurant at 1250 E. Michigan Ave., Saline, Michigan. The

Debtor filed a Chapter 11 petition on September 6, 2021. The hotel and restaurant is

designed as a three story, 63 room hotel, with 40 double queen suites, 10 king room

suites, and three long-term suites. Food and beverage operations were planned to

include a 36 seat restaurant, 18 seat bar, 24 seat covered patio, as well as a banquet

and meeting space of 1500 square feet, including a 400 Square foot board room. It is

currently a weather tight shell, with rough electrical and plumbing, but lacking any

interior finishing or fixtures. The Debtor filed the Chapter 11 with the intent and

purpose to secure lending and/or investment to continue and complete the

construction of the hotel and start operations and maintain a reorganized corporate




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structure of Saline Lodging Group, LLC. Debtor has been unable to secure post-petition

lending or investment required to complete the hotel and reorganize the Debtor.


      b.     Principals of the Debtor

      Saline Lodging Group is owned by its 21 members, who are a combination of

closely-held businesses, individuals, family trusts, and husband/wife teams. The

Debtor has been guided by a self-appointed “Advisory Board” made up of some of the

equity holders. Beth Ann Rentschler, one of the “members” of the “Advisory Board”

has been appointed manager for the purpose of reorganization and starting

operations. Ms Rentschler is also the President of Tri-County.

  c. Post-Petition Events of Significance


      To the best of YES’ knowledge, the Debtor has to date made no post-petition

transfers outside the ordinary course of business.

      The Debtor filed this case as a Subchapter V debtor under Chapter 11 of the

Code, and on December 6, 2021, filed a chapter 11 plan of reorganization based on

the unique provisions applicable to that subchapter.        YES filed an objection to

Debtor’s qualification as a debtor under Subchapter V, and the Court ordered that

the Debtor does not qualify as a Subchapter V debtor. The Debtor then filed a

motion to withdraw the Debtor’s Chapter 11, Subchapter V plan of reorganization


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and for leave to file chapter 11 plan of reorganization and disclosure. The court

granted that motion and allowed the Debtor until February 17, 2022 to file a second

plan of reorganization.

     In December 2021, the United States Trustee filed a motion to convert the case

to a Chapter 7 liquidation or alternatively appoint a Chapter 11 trustee. The Debtor

cured the issues set forth in the U.S. Trustee’s motion, and the U.S. Trustee withdrew

the motion.

     The Debtor filed its second plan of reorganization on February 17, 2022. After

objections were filed and a hearing held, the Debtor withdrew that plan.

     The Debtor filed its third plan of reorganization on April 21, 2022. The U.S.

Trustee and YES informally communicated their objections to that plan and the

parties have been unable to resolve the same. The Debtor has now withdrawn the

Sale Motion and attempted to file a motion to withdraw the April 21, 2022 Plan.

     On June 1, 2022, the U.S. Trustee filed a motion to dismiss the case due to the

Debtor’s inability to confirm a plan of reorganization. That motion remains pending.

YES opposes that motion and wishes to have this Plan confirmed instead.


   d. Litigation




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     No litigation by the Debtor occurred during the pendency of the case. YES

initiated the above referenced Adversary Proceeding, Case No. 21-47210, against

Tri-County to challenge the amount of its lien claim.

V.     Liquidation Analysis

            a.       Proceeds of Assets in Liquidation Using
                     Appraised Value of $2,720,000

Gross Proceeds Available from Liquidation of Assets /FMV............. $2,720,000

Tax claims of City of Saline / Washtenaw County ............................... $129,901

Construction Lien Claims………………………………………………………………….. $579,090

Secured Claim of YES………………………………………………………………..                             $2,091,009

 Amount Available for Administrative Claims                                  $0
 Amount Available for Unsecured Claims                                       $0


       b.        Risks, Conditions and Assumptions Regarding the Stated Values.

       The property and building at 1250 E. Michigan Ave. was appraised October 1,

2020 by Integra Realty Resources. A copy of the appraisal is attached to each of

Debtor’s three Plans of Reorganization previously filed. The market value “as is” was

appraised as $2,720,000. The Property has not had improvements since October 1,

2020. The Code Enforcement Officer from the City of Saline has recently issued a

notice of code violation to the Debtor due to various broken windows and other

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deficiencies which require prompt attention. The exterior Tyvek building wrap is

peeling off in several places, there are broken windows and there are open points

exposing the interior of the building to the elements. Water penetration has been

recently observed.


VI.    Legal Requirements

      a.      Voting procedures

      Under the Bankruptcy Code, the only classes that are entitled to vote to accept

or reject a plan are classes of claims, or equity interests, that are impaired under the

plan. Accordingly, classes of claims or interests that are not impaired are not entitled

to vote on the plan. Creditors that hold claims in more than one impaired class are

entitled to vote separately in each class. Such a creditor will receive a separate ballot

for all of its claims in each class (in accordance with the records of the Clerk of the

Court) and should complete and sign each ballot separately. A creditor who asserts a

claim in more than one class and who has not been provided with sufficient ballots

may photocopy the ballot received and file multiple ballots. Votes on the plan will be

counted only with respect to claims: (a) that are listed on the Debtor's Schedules of

Assets and Liabilities other than as disputed, contingent or unliquidated; or (b) for

which a proof of claim was filed on or before the bar date set by the Court for the

filing of proofs of claim (except for certain claims expressly excluded from that bar

date or which are allowed by Court order). However, any vote by a holder of a claim
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will not be counted if such claim has been disallowed or is the subject of an

unresolved objection, absent an order of the Court allowing such claim for voting

purposes pursuant to 11 U.S.C. § 502 and Bankruptcy Rule 3018. Voting on the plan

by each holder of a claim or interest in an impaired class is important. After carefully

reviewing the plan and disclosure statement, each holder of such a claim or interest

should vote on the provided ballot either to accept or to reject the plan, and then

return the ballot by mail to YES’ attorney whose contact information is below by the

deadline established by the Court. Any ballot that does not appropriately indicate

acceptance or rejection of the plan will not be counted.

      A ballot that is not received by the deadline will not be counted. If a ballot is

damaged, lost, or missing, a replacement ballot may be obtained by sending a

written request to YES's attorney whose contact information is below.

      b.     Acceptance
      The Bankruptcy Code defines acceptance of a plan by an impaired class of

claims as acceptance by the holders of at least two-thirds in dollar amount, and

more than one-half in number, of the claims of that class which actually cast ballots.

The Bankruptcy Code defines acceptance of a plan by an impaired class of equity

interests as acceptance by holders of at least two-thirds in number of the equity




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interests of that class that actually cast ballots. If no creditor or interest holder in an

impaired class votes, then that class has not accepted the plan.

      c.      Confirmation

      11 U.S.C. § 1129(a) establishes conditions for the confirmation of a plan.

These conditions are too numerous and detailed to be fully explained here. Parties

are encouraged to seek independent legal counsel to answer any questions

concerning the Chapter 11 process. Among the several conditions for confirmation

of a plan under 11 U.S.C. § 1129(a) are these:

             i.      Each class of impaired creditors and interests must accept the

                     plan, as described in Section 8(b)., above.

             ii.     Either each holder of a claim or interest in a class must accept

                     the plan, or the plan must provide at least as much value as

                     would be received upon liquidation under Chapter 7 of the

                     Bankruptcy Code.

      d.      Modification
                     YES may withdraw the Plan or file and submit modifications of

                     the Plan to the court at any time prior to confirmation in the

                     manner provided in 11 U.S.C. § 1127.

      e.     Effect of Confirmation.

             If the Plan is confirmed by the Court:
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             i.      Its terms are binding on the debtor, all creditors, shareholders

                     and other parties in interest, regardless of whether they have

                     accepted the plan.

             ii.     Except as provided in the plan and in 11 U.S.C. § 1141(d):

                      (1) In the case of a corporation that is reorganizing and

                             continuing business, as in this case:

                              (a)    All claims and interests will be discharged.

                              (b)    Creditors and shareholders will be prohibited from

                                     asserting their claims against or interests in the

                                     debtor or its assets.

VII.   Miscellaneous Provisions

       a.    Documents.

             Upon entry of a Final Order confirming this Plan, the Debtor, through

             Ms Rentschler and/or through its attorney, shall be authorized and

             directed to execute any and all deeds, assignments conveyances and

             other documents reasonably necessary to effectuate the Plan’s terms.
       b.    Management.




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           The Debtor’s receipt and distributions of the funds for Class 1 Claims

           and for execution of Documents shall be managed and executed by

           the Debtor’s present management.


     c.    Property of the Estate.
           All property of the Estate shall be deemed the property of YES or its

           assignee upon consummation of the Plan as provided herein.

     d.    Post-Confirmation Conversion/Dismissal.
           A creditor or party in interest may bring a motion to convert or dismiss

           the case under §1112(b), after the Plan is confirmed, if there is a default

           in performing under the Plan. If the Court orders the case converted to

           Chapter 7 after the Plan is confirmed, then all property that had been

           property of the Chapter 11 estate, and that has not been disbursed

           pursuant to the Plan, will revest in the Chapter 7 estate, and the

           automatic stay will be reimposed upon the revested property only to

           the extent that relief from stay was not previously granted by the Court

           during this case.

     e.    Post-Confirmation Quarterly Fees.
           Quarterly fees pursuant to 28 U.S.C. Sec. 1930 (a)(6) continue to be

           payable to the office of the United States Trustee post-confirmation

           until such time as the case is converted, dismissed, or closed pursuant

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           to a final decree. The Debtor shall continue to file reports as required

           by the Operating Guidelines and Reporting Requirements of the Office

           of the United States Trustee, and the Debtor shall pay quarterly fees

           in accordance with 28 U.S.C.§1930(a)(6) until the case is dismissed,

           converted or closed by the Court.


     f.    Successors and Assigns.
           The rights and obligations of any entity referred to in this Plan shall

           apply to and be binding upon that entity’s successors and assigns.


                                               PLAN PROPONENT
     June 7, 2022                              YOUR ENTERPRISE SOLUTIONS, LLC
                                               A Michigan Limited Liability Company
                                               By: /s/ Elizabeth Haeussler
                                                      Elizabeth Haeussler
                                               Its: Manager

     June 7, 2022                              FINKEL WHITEFIELD FELDMAN
                                               /s/ Geoffrey L. Silverman
                                               Geoffrey L. Silverman (P34011)
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